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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
                                                             1       )   Case No. 20-32519 (DRJ)
    NEIMAN MARCUS GROUP LTD LLC, et al.,
                                                                     )
                              Debtors.                               )   (Joint Administration Requested)
                                                                     )   (Emergency Hearing Requested)

                      DEBTORS’ EMERGENCY MOTION
                 FOR ENTRY OF AN ORDER (I) AUTHORIZING
                THE DEBTORS TO FILE A CONSOLIDATED LIST
             OF CREDITORS AND A CONSOLIDATED LIST OF THE 50
           LARGEST UNSECURED CREDITORS, (II) AUTHORIZING THE
          DEBTORS TO REDACT CERTAIN PERSONAL IDENTIFICATION
          INFORMATION, (III) APPROVING THE FORM AND MANNER OF
      NOTIFYING CREDITORS OF THE COMMENCEMENT OF THE CHAPTER 11
     CASES AND OTHER INFORMATION, AND (IV) GRANTING RELATED RELIEF

             EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON THIS
             MATTER ON MAY 8, 2020, AT 1:00 P.M. (CENTRAL TIME) IN COURTROOM 400, 4TH FLOOR,
             515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO THE RELIEF REQUESTED
             OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST
             EITHER APPEAR AT THE HEARING OR FILE A WRITTEN RESPONSE PRIOR TO THE
             HEARING. OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
             GRANT THE RELIEF REQUESTED.

             RELIEF IS REQUESTED NOT LATER THAN MAY 8, 2020.

             PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL ORDER 2020-
             10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY PUBLIC HEALTH OR SAFETY
             CONDITIONS.

             IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
             MAY APPEAR VIA VIDEO AT THIS HEARING.
             AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN NUMBER.
             THE DIAL-IN NUMBER IS +1(832) 917-1510. YOU WILL BE RESPONSIBLE FOR YOUR OWN

1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530); Bergdorf Graphics, Inc.
      (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings LLC
      (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage
      Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust
      (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664);
      NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term
      Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group
      LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The Debtors’
      service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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        LONG-DISTANCE CHARGE S. YOU WILL BE ASKED TO KEY IN THE CONFERENCE ROOM
        NUMBER. JUDGE JONES’ CONFERENCE ROOM NUMBER IS 205691.
        PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN INTERNET
        CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS CONNECTING BY
        MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.
        ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
        MEETING”. THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
        “JUDGEJONES”. THE NEXT SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S NAME
        IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE NAME AND CLICK “NOTIFY”.
        HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY AND IN ADVANCE OF THE
        HEARING. YOU MAY MAKE YOUR ELECTRONIC APPEARANCE BY:

        1) GOING TO THE SOUTHERN DISTRICT OF TEXAS WEBSITE;

        2) SELECTING “BANKRUPTCY COURT” FROM THE TOP MENU;

        3) SELECTING JUDGES’ PROCEDURES AND SCHEDULES;

        4) SELECTING “VIEW HOME PAGE” FOR JUDGE DAVID R. JONES;

        5) UNDER “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT ELECTRONIC
        APPEARANCE;”

        6) SELECT NEIMAN MARCUS GROUP LTD LLC, ET AL. FROM THE LIST OF ELECTRONIC
        APPEARANCE LINKS, AND

        7) AFTER SELECTING NEIMAN MARCUS GROUP LTD LLC, ET AL. FROM THE LIST,
        COMPLETE THE REQUIRED FIELDS AND HIT THE “SUBMIT” BUTTON AT THE BOTTOM OF
        THE PAGE.

        SUBMITTING YOUR APPEARANCE ELECTRONICALLY IN ADVANCE OF THE HEARING
        WILL NEGATE THE NEED TO MAKE AN APPEARANCE ON THE RECORD AT THE HEARING


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion: 2

                                               Relief Requested

        1.       The Debtors seek entry of an order, substantially in the form attached hereto

(respectively, the “Order”), (a) authorizing the Debtors to file a consolidated creditor matrix and

list of the 50 largest general unsecured creditors in lieu of submitting separate mailing matrices


2   The facts and circumstances supporting this motion are set forth in the Declaration of Mark Weinsten, Chief
    Restructuring Officer of Neiman Marcus Group LTD LLC, in Support of the Debtors’ Chapter 11 Petitions and
    First Day Motions (the “First Day Declaration”), filed substantially contemporaneously with the Debtors’
    voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on
    May 7, 2020 (the “Petition Date”) and incorporated by reference herein. Capitalized terms used but not
    immediately defined in this motion shall have the meanings assigned to them elsewhere in this motion or in the
    First Day Declaration, as applicable.


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and creditor lists for each Debtor, (b) authorizing the Debtors to redact certain personal

identification information, (c) approving the form and manner of notice of commencement of these

chapter 11 cases and the scheduling of the meeting of creditors under section 341 of the Bankruptcy

Code, and (d) granting related relief.

                                     Jurisdiction and Venue

       2.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant

to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry

of a final order by the Court.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The bases for the relief requested herein are sections 105(a), 107(b), and 521 of the

Bankruptcy Code, Bankruptcy Rules 1007 and 6003, and rules 1075-1 and 9013-1 of the Local

Bankruptcy Rules for the Southern District of Texas (the “Local Rules”).

                                          Background

       5.      For over 100 years, the Debtors have been the leader in retail luxury, innovation,

and customer experiences. Since opening in 1907 with just one store in Dallas, Texas, the Debtors

have strategically grown to 67 stores across the United States, including their marquee luxury

Neiman Marcus and Bergdorf Goodman locations, Horchow e-commerce website, and off-price

Last Call stores. Each Neiman Marcus and Bergdorf Goodman store offers a distinctive selection

of apparel, handbags, shoes, cosmetics, and precious and designer jewelry from premier luxury

and fashion designers. Horchow offers luxury home furnishings and accessories, and Last Call

provides a more affordable option for price-sensitive yet fashion-minded customers.              To



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complement its store footprint, NMG operates the largest luxury e-commerce platform in the

world. More than 30 percent of NMG’s total annual revenue is from online sales. The Debtors’

non-Debtor affiliates own and operate a single store under the THERESA brand and an e-

commerce platform under the Mytheresa brand. As of the Petition Date, the Debtors have funded-

debt obligations of approximately $5.5 billion.

       6.        The Debtors commenced these chapter 11 cases in the face of the unprecedented

global COVID-19 pandemic with the goal of stabilizing the Debtors’ business and maximizing the

value of the enterprise for stakeholders. In the face of these catastrophic headwinds, the Debtors

have obtained financial commitments from key stakeholders to enable the Debtors to satisfy their

postpetition obligations and beyond, and support from these same key stakeholders for a

pre-negotiated     transaction   pursuant   to   the   Restructuring   Support    Agreement,     filed

contemporaneously herewith. The Restructuring Support Agreement includes commitments from

holders of over 77% of the Debtors’ Extended Term Loans, over 99% of the Debtors’ Second Lien

Notes, and over 69% of the Debtors’ Third Lien Notes to equitize their debt and to backstop the

full amount of a proposed $675 million new-money debtor-in-possession financing facility and a

$750 million committed exit financing facility. Through the Debtors’ diligent and timely efforts

to implement the transaction, the Debtors seek to deleverage their balance sheet by approximately

$4 billion and emerge from chapter 11 as a stronger, better-capitalized enterprise.

       7.        On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and managing

their property as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. The Debtors have concurrently filed a motion requesting procedural consolidation and joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No request for the



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appointment of a trustee or examiner has been made in these chapter 11 cases, and no committees

have been appointed or designated.

                                                 Basis for Relief

I.         Consolidated Creditor Matrix.

           8.       Bankruptcy Rule 1007(a)(1) requires a debtor to file “a list containing the name and

address of each entity included or to be included on Schedules D, E/F, G, and H.”

Fed. R. Bankr. P. 1007(a)(1). Although the list of creditors usually is filed on a debtor-by-debtor

basis, in a complex chapter 11 bankruptcy case involving more than one debtor, the debtors may

file a consolidated creditor matrix. 3 Here, the preparation of separate lists of creditors for each

Debtor would be expensive, time consuming, and administratively burdensome. Accordingly, the

Debtors         respectfully   request    authority     to    file   one   consolidated   list   of   creditors

(the “Creditor Matrix”) for all of the Debtors.

II.        Consolidated List of the 50 Largest General Unsecured Creditors.

           9.       Pursuant to Bankruptcy Rule 1007(d), a debtor shall file “a list containing the name,

address and claim of the creditors that hold the 20 largest unsecured claims, excluding insiders.”

Fed. R. Bankr. P. 1007(d). Because a large number of creditors may be shared amongst the

Debtors, the Debtors request authority to file a single, consolidated list of their 50 largest general

unsecured creditors (the “Top 50 List”). The Top 50 List will help alleviate administrative

burdens, costs, and the possibility of duplicative service.

III.       Redaction of Certain Confidential Information of Individuals Is Warranted.

           10.      Section 107(c) of the Bankruptcy Code provides that the Court:

                    for cause, may protect an individual, with respect to the following
                    types of information to the extent the court finds that disclosure of

3      See Procedures for Complex Chapter 11 Cases in the Southern District of Texas.


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               such information would create undue risk of identity theft or other
               unlawful injury to the individual:

               (A) Any means of identification . . . contained in a paper filed, or to
               be filed in a case under” the Bankruptcy Code.

               (B) Other information contained in a paper described in
               subparagraph (A).

11 U.S.C. § 107(c)(1). In addition, privacy protection regulations are being enacted in key

jurisdictions. In 2018, the state of California enacted the California Consumer Privacy Act of 2018

(the “CCPA”), which provides individuals domiciled in California the right to request their

collected personal information be deleted by entities subject to the regulation. Violators risk

injunctions and civil penalties of up to $2,500 for each violation and up to $7,500 for each

intentional violation. Cal. Civ. Code § 1798.155. The CCPA applies to all for-profit entities doing

business in California (“CCPA Entities”) that collect and process consumers’ personal data and

satisfy one of the following criteria: (i) annual gross revenue in excess of $25 million; (ii) buys,

shares, receives, or sells the personal information of more than 50,000 consumers, households, or

devices for commercial purposes; or (iii) receives 50% or more of their annual revenues from

selling consumers’ personal information. Cal. Civ. Code § 1798.140(c)(1). The Debtors likely

qualify as CCPA Entities because the Debtors operate 12 stores located in California and the

Debtors’ annual gross revenue for 2019 was $4.5 billion. In addition, the European General Data

Protection Regulation (the “GDPR”), which applies to all European Union member countries and

protects all European Union member countries’ citizens, imposes significant constraints on the

disclosure of “personally identifiable information” (which includes home addresses of

individuals). Violators of the GDPR risk severe penalties. If an organization is found to have

disclosed information in breach of the GDPR, the organization may be fined up to the higher of

€20,000,000 or 4% of worldwide annual turnover of the preceding financial year. See General

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Data Protection Regulation (EU) 2016/679, art. 83(5). The GDPR may apply to the Debtors as

certain of the Debtors’ creditors are located in member countries of the European Union and may

therefore be European Union citizens protected by the personally identifiable information

disclosure regulations.

        11.      The Debtors respectfully submit that it is appropriate to authorize the Debtors to

redact from any paper filed or to be filed with the Court in these chapter 11 cases, including the

Schedules and Statements, 4 (a) the home addresses of individual creditors—including the Debtors’

employees and contract workers—and (b) the names and addresses of European Union member

countries’ citizens because (x) such information can be used to perpetrate identity theft or locate

survivors of domestic violence, harassment, or stalking, and (y) disclosure risks violating the

CCPA / GDPR, exposing the Debtors to potential civil liability and significant financial penalties.

This risk is not merely speculative. In at least one recent chapter 11 case, the abusive former

partner of a debtor’s employee used the publicly accessible creditor and employee information

filed in the chapter 11 case to track the employee at her new address that had not been publicly

available until then, forcing the employee to change addresses again. 5

        12.      The Debtors propose to provide an unredacted version of the Creditor Matrix,

Schedules and Statements, and any other filings redacted pursuant to the proposed order to

(a) the Court, the Office of the United States Trustee for the Southern District of Texas

(the “U.S. Trustee”), counsel to an official committee of unsecured creditors appointed in these



4   As defined in the Debtors’ Emergency Motion for Entry of an Order Extending Time to File Schedules of Assets
    and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired
    Leases, and Statements of Financial Affairs, filed contemporaneously herewith.
5   The incident, which took place during the first Charming Charlie chapter 11 proceedings in 2017, is described in
    the “creditor matrix motion” filed in Charming Charlie Holdings Inc., Case No. 19-11534 (CSS) (Bankr. D. Del.
    Jul. 11, 2019), ECF No. 4.


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chapter 11 cases (if any), and (b) upon a request to the Debtors (email is sufficient) or to the Court

that is reasonably related to these chapter 11 cases, any party in interest. In addition, the Debtors

will distribute as applicable any notices that are received at the Debtors’ corporate headquarters

and are intended for a current employee.

        13.     For these reasons, the Debtors respectfully submit that cause exists to authorize the

Debtors to redact, pursuant to 11 U.S.C. § 107(c)(1) and in compliance with the CCPA / GDPR,

the home addresses of individuals (and, with respect to individuals who are or may be located in

the European Union, the names and home addresses) listed on the Creditor Matrix, Schedules and

Statements, or any other document filed with the Court. Absent such relief, the Debtors (a) would

be in violation of applicable data privacy law, thereby exposing them to severe monetary penalties

that could threaten the Debtors’ operations during this sensitive stage of their restructuring,

(b) would unnecessarily render individuals more susceptible to identity theft, and (c) could

jeopardize the safety of employees, contract workers, and other individual creditors who,

unbeknownst to the Debtors, are survivors of domestic violence, harassment, or stalking by

publishing their home addresses without any advance notice or opportunity to opt out or take

protective measures.

IV.     Service of the Notice of Commencement.

        14.     Bankruptcy Rule 2002(a) provides, in relevant part, that “the clerk, or some other

person as the court may direct, shall give the debtor, the trustee, all creditors and indenture trustees

at least 21 days’ notice by mail of: the meeting of creditors under § 341 or § 1104(b) of the Code.”

Fed. R. Bankr. P. 2002(a). Subsection (f) provides that notice of the order for relief shall be sent

by mail to all creditors. See Fed. R. Bankr. P. 2002(f).

        15.     Through Stretto, the Debtors’ proposed noticing, claims, and balloting agent

(the “Noticing and Claims Agent”), the Debtors propose to serve the notice of commencement,

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substantially in the form attached as Exhibit 1 to the Order (the “Notice of Commencement”), on

all parties listed on the Creditor Matrix to advise them of the meeting of creditors under section 341

of the Bankruptcy Code. Service of the Notice of Commencement on the Creditor Matrix will not

only avoid confusion among creditors, but will prevent the Debtors’ estates from incurring

unnecessary costs associated with serving multiple notices to the parties listed on the Debtors’

voluminous Creditor Matrix. Accordingly, the Debtors submit that service of the Notice of

Commencement is warranted.

                                    Emergency Consideration

       16.     Pursuant to Local Rule 9013-1(i), the Debtors respectfully request emergency

consideration of this motion pursuant to Bankruptcy Rule 6003, which empowers a court to grant

relief within the first 21 days after the commencement of a chapter 11 case “to the extent that relief

is necessary to avoid immediate and irreparable harm,” and Local Rule 9013-1(i), the Debtors

respectfully request emergency consideration of this motion. The motion requests relief from

procedural rules and requirements that pertain to matters of immediate significance or which

involve deadlines sooner than 21 days after the Petition Date. The relief will save costs and avoid

undue administrative burden and confusion only if granted before the applicable deadlines.

Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 and, therefore, respectfully request that the Court approve the

relief requested in this motion on an emergency basis.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       17.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and




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that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                              Notice

       18.     The Debtors will provide notice of this motion to: (a) the U.S. Trustee; (b) the

holders of the 50 largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel

to the Term Loan Lender Group; (d) counsel to the Noteholder Group; (e) the United States

Attorney’s Office for the Southern District of Texas; (f) the Internal Revenue Service; (g) the

United States Securities and Exchange Commission; (h) the state attorneys general for states in

which the Debtors conduct business; and (i) any party that has requested notice pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.




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       WHEREFORE, the Debtors respectfully request that the Court enter an Order, granting the

relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

 Houston, Texas
 May 7, 2020

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER L.L.P.                           KIRKLAND & ELLIS LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)      KIRKLAND & ELLIS INTERNATIONAL LLP
 Jennifer F. Wertz (TX Bar No. 24072822)         Anup Sathy, P.C. (pro hac vice pending)
 Kristhy M. Peguero (TX Bar No. 24102776)        Chad J. Husnick, P.C. (pro hac vice pending)
 Veronica A. Polnick (TX Bar No. 24079148)       300 North LaSalle Street
 1401 McKinney Street, Suite 1900                Chicago, Illinois 60654
 Houston, Texas 77010                            Telephone:       (312) 862-2000
 Telephone:      (713) 752-4200                  Facsimile:       (312) 862-2200
 Facsimile:      (713) 752-4221                  Email:           anup.sathy@kirkland.com
 Email:          mcavenaugh@jw.com                                chad.husnick@kirkland.com
                 jwertz@jw.com
                 kpeguero@jw.com                 -and-
                 vpolnick@jw.com
                                                 Matthew C. Fagen (pro hac vice pending)
 Proposed Co-Counsel to the Debtors              601 Lexington Avenue
 and Debtors in Possession                       New York, New York 10022
                                                 Telephone:     (212) 446-4800
                                                 Facsimile:     (212) 446-4900
                                                 Email:         matthew.fagen@kirkland.com

                                                 Proposed Co-Counsel to the Debtors
                                                 and Debtors in Possession
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                                     Certificate of Service

        I certify that on May 7, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
